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                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

IN RE:                                :                 CASE NO: 17-68562-LRC
                                      :                 CHAPTER: 13
                                      :
CHEYENNE PAIGE WILER                  :
      Debtor                          :
------------------------------------ --                 ------------------------------------
BRIDGECREST CREDIT COMPANY, LLC,,     :
      Movant,                         :
                                      :                 CONTESTED MATTER
vs.                                   :
                                      :
CHEYENNE PAIGE WILER                  :
MELISSA J. DAVEY, Trustee             :
      Respondents.                    :

                               NOTICE OF ASSIGNMENT OF HEARING

        NOTICE IS HEREBY GIVEN that Bridgecrest Credit Company, LLC, filed a Motion for Relief
from Automatic Stay with the Court seeking an order modifying stay, and hearing will be held on the Motion
for Relief from Automatic Stay in Courtroom 1204, United States Courthouse, 75 Ted Turner Drive,
S.W., Atlanta, Georgia at 01:15 PM on January 11, 2018.

        Your rights may be affected by the court's ruling on these pleadings. You should read these pleadings
carefully and discuss them with your attorney, if you have one in this bankruptcy case. (If you do not have
an attorney, you may wish to consult one.) If you do not want the Court to grant the relief sought in these
pleadings or if you want the Court to consider your views, then you and/or your attorney must attend the
hearing. You may also file a written response to the pleading with the Clerk at the address stated below, but
you are not required to do so. If you file a written response, you must attach a certificate stating when, how
and on whom (including addresses) you served the response. Mail or deliver your response so that it is
received by the Clerk at least two business days before the hearing. The address of the Clerk's Office is:
Clerk, U.S. Bankruptcy Court, 75 Ted Turner Drive, S.W., Suite 1340, Atlanta, GA 30303. You must also
mail a copy of your response to the undersigned at the address stated below.

         If a hearing on the Motion for Relief from Automatic Stay cannot be held within thirty (30) days,
Movant waives the requirement for holding a preliminary hearing within thirty days of filing the motion and
agrees to a hearing on the earliest possible date. Movant consents to the automatic stay remaining in effect
until the Court orders otherwise.

Dated: 12/12/17
/s/ Lisa F. Caplan
Lisa F. Caplan
GA State Bar No. 001304
Rubin Lublin, LLC
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Attorney for Creditor
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
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IN RE:                             :                 CASE NO: 17-68562-LRC
                                   :                 CHAPTER: 13
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CHEYENNE PAIGE WILER               :
      Debtor                       :
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BRIDGECREST CREDIT COMPANY,        :
LLC,,                              :
      Movant,                      :
                                   :                 CONTESTED MATTER
vs.                                :
                                   :
CHEYENNE PAIGE WILER               :
MELISSA J. DAVEY, Trustee          :
      Respondents.                 :

                      MOTION FOR RELIEF FROM AUTOMATIC STAY

       Bridgecrest Credit Company, LLC, (“Movant”) hereby moves this Court for relief from the

automatic stay, pursuant to 11 U.S.C. § 362, as to a 2007 Lexus ES 350 (the “Vehicle”), for all

purposes allowed by law, the Contract (defined below), the Georgia Certificate of Title (defined

below), and applicable law. In further support of this Motion, Movant respectfully states:

       1.      The Debtor has executed and delivered or is otherwise obligated with respect to that

certain Simple Interest Retail Installment Contract in the original principal amount of

$19,282.13 (the “Contract”). A copy of the Contract is attached hereto as Exhibit “A”. Movant is

an entity entitled to enforce the Contract.

       2.      Pursuant to that certain Georgia Certificate of Title (the “Georgia Certificate of

Title”), all obligations (collectively, the “Obligations”) of the Debtor under and with respect to the

Contract and the Georgia Certificate of Title are secured by the Vehicle. A copy of the Georgia

certificate of Title is attached hereto as Exhibit “B”.

       3.      As of December 6, 2017, the outstanding Obligations is: $19,112.66.

       4.      As of the filing of this Motion, the Debtor has failed to make the 14 payments due

pursuant to the terms of the Simple Interest Retail Installment Contract.
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       5.      Additionally, Movant has incurred $631.00 in legal fees and costs. Movant reserves

all rights to seek an award or allowance of such fees and expenses in accordance with applicable

loan documents and related agreements, the Bankruptcy Code and otherwise applicable law.

       6.      The estimated market value of the Vehicle is $8,850.00. The basis for such valuation

is NADA Guidelines. A copy of the NADA Guidelines is attached hereto as Exhibit “C”.

       7.      Cause exists for relief from the automatic stay for the following reason:

               1. The Vehicle was repossessed prior to the filing of the instant case.

               WHEREFORE, Movant prays that this Court issue an Order terminating or

modifying the stay and granting the following:

       1.      Relief from the stay entered by this Honorable Court pursuant to 11 U.S.C. § 362 be

modified for all purposes allowed by law, the Contract, the Georgia Certificate of Title, and

applicable law, including but not limited to allowing Movant (and any successors or assigns) to

proceed under applicable non-bankruptcy law to enforce its remedies and liquidate the Vehicle.

       2.      That the Order be binding and effective despite any conversion of this bankruptcy

case to a case under any other chapter of Title 11 of the United States Code.

       3.      That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived.

       4.      For such other relief as the Court deems proper.



RUBIN LUBLIN, LLC

/s/ Lisa F. Caplan                                            Date: December 12, 2017
Lisa F. Caplan
GA State Bar No. 001304
Rubin Lublin, LLC
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Attorney for Creditor
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                                 CERTIFICATE OF SERVICE

        I, Lisa F. Caplan of Rubin Lublin, LLC certify that on the 12th day of December, 2017, I
caused a copy of the Notice of Hearing and Motion for Relief from Automatic Stay to be filed in
this proceeding by electronic means and to be served by depositing a copy of same in the United
States Mail in a properly addressed envelope with adequate postage thereon to the said parties as
follows:


Cheyenne Paige Wiler
509 Vinings Pkwy
Smyrna, GA 30080

Francis Lartey Laryea, Esq.
Suite 201
303 Perimeter Center North
Atlanta, GA 30346

Melissa J. Davey
260 Peachtree Street, NW
Suite 200
Atlanta, GA 30303

Executed on 12/12/17
By:/s/ Lisa F. Caplan
Lisa F. Caplan
GA State Bar No. 001304
Rubin Lublin, LLC
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Attorney for Creditor
